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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


   Civil Action No. 20-cv-389-CNS-GPG

   ST. PAUL FIRE AND MARINE INSURANCE COMPANY, a Connecticut corporation,

          Plaintiff,

   v.

   PAUL B. JONES;
   STEPHEN MEACHAM; and
   WOMEN’S HEALTH CARE OF WESTERN COLORADO, PC, formally known as
   ROBERT HACKETT, LOUIS IRVIN, STEPHEN MESCHAM, PAUL JONES, MECHAM
   & JONES, PARTNERSHIP & GYNECOLOGICAL ASSOCIATION, formally known as
   ROBERT HACKETT, STEPHEN MEACHAM, PAUL JONE, MEACHAM & JONES
   PARTNERSHIP & GYNECOLOGICAL ASSOCIATION,

          Defendants.


                                    MOTION TO WITHDRAW


          The undersigned, Kevin P. Ahearn, hereby submits this Motion to Withdraw on behalf of

   Defendant Women’s Health Care of Western Colorado PC, pursuant to D.C.COLO.LAttyR 5(b):

          1.      Effective August 26, 2022, I will no longer be associated with the law firm of

   LEVIN SITCOFF WANEKA PC.

          2.      The client is aware of all upcoming deadlines and Defendant will continue to be

   represented by Jeremy A. Sitcoff of LEVIN SITCOFF WANEKA PC.

          3.      I have complied with all outstanding orders of this Court. A copy of this Notice is

   being served on all counsel of record and on Defendant.
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          WHEREFORE, Kevin P. Ahearn respectfully requests that the Court enter an Order

   permitting him withdrawal from this case and to remove him from future ECF filings.

          Dated this 26th day of August, 2022.

                                                 Respectfully submitted,

                                                 LEVIN SITCOFF WANEKA PC

                                                 /s/ Kevin P. Ahearn
                                                 Jeremy Sitcoff
                                                 Kevin Ahearn
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                                                 (303) 575-9390
                                                 jeremy@lsw-legal.com
                                                 kevin@lsw-legal.com
                                                 Counsel for Women’s Health Care of Western
                                                 Colorado, PC

                                    CERTIFICATE OF SERVICE

           I hereby certify that on August 26, 2022, I electronically filed the foregoing MOTION
   TO WITHDRAW with the Clerk of the Court using CM/ECF system, which will send
   notification of such filing to the following email address:

   Evan Bennett Stephenson
   Spencer Fane LLP
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                                                 s/ Nicole R. Peterson
                                                 Nicole R. Peterson



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